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(Rev. 2/88) 4:98CR00123 SWW
TRANSFER OF JURISDICTION
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NAME AND ADDRESS OF PROBATIONER/SUPERVISED RELEASEE: DISTRICT DIVISION | r i L.
. Ss. DISTR
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Jesse Frank Parraz Eastern District of Arkansas TERN DISTRICT ARKANSAS
NAME OF SENTENCING JUDGE
JAM
Susan Webber Wright B mes GLE
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Cc.
PROBATION SUPERVISED October 27, | October 26, I
- 2008 2012
OFFENSE

21 U.S.C. §§ 846 and 841(a), Possession with the intent to distribute methamphetamine

PART 1 - ORDER TRANSFERRING JURISDICTION

UNITED STATES DISTRICT COURT FOR THE "EASTERN DISTRICT OF ARKANSAS"

IT IS HEREBY ORDERED that pursuant to 18 U.S.C. 3605 the jurisdiction of the probationer or supervised
releasee named above be transferred with the records of the Court to the United States District Court for the Eastern District
of California upon that Court’s order of acceptance of jurisdiction. This Court hereby expressly consents that the period.
of probation or supervised release may be changed by the District Court to which this transfer is made without further
inquiry of this Court.*

12. -SOF

Date

*This sentence may be deleted in the discretion of the transferring Court.

PART 2 - ORDER ACCEPTING JURISDICTION

UNITED STATES DISTRICT COURT FOR THE Eastern District of California

IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised releasee be accepted
and assumed by this Court from and after the entry of this order.

Loe, 23, 2008 PR

Effective Date Conca States District Judge

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